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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

MELANIE HOGAN SLUDER, and *
RICKY SHAWNN CURTIS,                   *
Individually and as Independent        *
Administrators of the Estate of Alexis *
Marie Sluder, Deceased                 *       CIVIL ACTION FILE
                                       *       No. 4:24-cv-00181-WMR
             Plaintiffs,               *
                                       *
v.                                     *
                                       *
REBECKA PHILLIPS, et al.,              *
                                       *
             Defendants.               *

                               PROTECTIVE ORDER

      Whereas Plaintiffs filed this action under 42 U.S.C. § 1983 alleging that

Defendants violated the Fourteenth Amendment of the United States Constitution in

connection with the death of Alexis Marie Sluder on August 27, 2022;

      Whereas Plaintiffs issued a subpoena to non-parties Georgia Bureau of

Investigation (“GBI”) and Georgia Department of Juvenile Justice (“DJJ”), seeking

records, documents, investigative files, video(s), and other materials relating to the

death of Ms. Sluder on August 27, 2022;

      NOW THEREFORE, it is hereby ordered:

1. Scope. All Documents produced or adduced by third parties GBI and/or DJJ

   (hereinafter collectively the “producing third parties”), shall be subject to this


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   Order concerning Confidential Information as defined below. This Order is

   subject to the Local Rules of this District and the Federal Rules of Civil

   Procedure on matters of procedure and calculation of time periods.

2. Confidential Information. As used in this Order, “Confidential Information”

   means    Documents      or   information    contained   therein    designated    as

   “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by the producing

   third parties by the producing party that falls within one or more of the following

   categories: (a) information prohibited from disclosure by statute, including but

   not limited to O.C.G.A. §§ 49-4a-8 and 15-11-1, 34 U.S.C. § 11133, and

   HIPAA; (b) information that reveals trade secrets; (c) research, technical,

   commercial or financial information that the party has maintained as

   confidential; (d) medical information concerning any individual; (e) personal

   identity information; (f) income tax returns (including attached schedules and

   forms), W-2 forms and 1099 forms; or (g) personnel or employment records of

   a person who is not a party to the case. Information or documents that are

   available to the public may not be designated as Confidential Information.

   Documents or information that are available to the public may not be designated

   as Confidential Information.

3. Designation.

      A. The producing third parties may designate Documents as Confidential


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    Information for protection under this Order by placing or affixing the

    words “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” on

    the Documents and on all copies in a manner that will not interfere with

    the legibility of the document. As used in this Order, “copies” includes

    electronic images, duplicates, extracts, summaries or descriptions that

    contain the Confidential Information. The marking “CONFIDENTIAL -

    SUBJECT TO PROTECTIVE ORDER” shall be applied prior to or at

    the time of the Documents are produced or disclosed. Applying the

    marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”

    to a Document does not mean it has any status or protection by statute or

    otherwise except to the extent and for the purposes of this Order. Any

    copies that are made of any Documents marked “CONFIDENTIAL -

    SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except

    that indices, electronic databases or lists of documents or materials that

    do not contain substantial portions or images of the text of marked

    Documents and do not otherwise disclose the substance of the

    Confidential Information are not required to be marked.

B. The designation of a Document as Confidential Information is a

   certification by the producing third parties or their counsel that the

   document contains Confidential Information as defined in this order.

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4. Protection of Confidential Material:

         A. Confidential Information shall not be used or disclosed by the parties,

         counsel for the parties or any other persons identified in subparagraph (b)

         for any purpose whatsoever other than in this litigation, including any

         appeal thereof.

         B. Limited Third-Party Disclosures. The parties and counsel for the

         parties shall not disclose or permit the disclosure of any Confidential

         Information to any third person or entity except as set forth in

         subparagraphs (i)-(vii). Subject to these requirements, the following

         categories of persons may be allowed to review Confidential Information:

                 i. Counsel for the parties and employees of counsel who

                    have responsibility for the action;

                ii. Parties;

                iii. The Court and its personnel;

                iv. Court Reporters and Videographers engaged for purposes

                   related to this action;

                v. Consultants, investigators, or experts employed by the parties

                   or counsel for the parties to assist in the preparation and trial

                   of this action, but only after such persons have completed the

                   certification contained in Attachment A, Acknowledgment of

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             Understanding and Agreement to Be Bound..

          vi. Witnesses at depositions. During their depositions, witnesses

             in this action to whom disclosure is reasonably necessary.

             Witnesses shall not retain a copy of documents containing

             Confidential Information, except witnesses may receive a copy

             of all exhibits marked at their depositions in connection with

             review of the transcripts. Pages of transcribed deposition

             testimony or exhibits to depositions that are designated as

             Confidential Information pursuant to the process set out in this

             Order must be separately bound by the court reporter and may

             not be disclosed to anyone except as permitted under this

             Order.

          vii. Others by Consent. Other persons only by written consent of

             the producing third party or upon order of the Court and on

             such conditions as may be agreed or ordered.

   C. Control of Documents. Counsel for the parties shall make reasonable

   efforts to prevent unauthorized or inadvertent disclosure of Confidential

   Information. Counsel shall maintain the originals of the forms signed by

   persons acknowledging their obligations under this Order for a period of

   three years after the termination of the case.


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5. Inadvertent Failure to Designate. An inadvertent failure to designate a

   Document as Confidential Information does not, standing alone, waive the right

   to so designate the document. If a producing third party designates a Document

   as Confidential Information after it was initially produced, the receiving party,

   on notification of the designation, must make a reasonable effort to assure that

   the Document is treated in accordance with the provisions of this Order. No

   party shall be found to have violated this Order for failing to maintain the

   confidentiality of material during a time when that material has not been

   designated Confidential Information, even where the failure to so designate was

   inadvertent and where the material is subsequently designated Confidential

   Information.

6. Filing of Confidential Information. Any party seeking to file a Document or

   information designated as Confidential Information in this litigation shall seek

   to file the Document or Confidential Information under seal. This Order does

   not, by itself, authorize the filing of any Document under seal. Any party

   seeking to file a Document under seal must comply with LR 26.2 and any other

   applicable rules.

7. Challenges to Designation as Confidential Information. The designation of any

   Document or information as Confidential Information is subject to challenge

   by any party. The following procedure shall apply to any such challenge.


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      A.   Meet and Confer. A party challenging the designation of Confidential

        Information must do so in good faith and must begin the process by

        conferring directly with the designating party or its counsel. In

        conferring, the challenging party must explain the basis for its belief that

        the confidentiality designation was not proper and must give the

        designating party an opportunity to review the designated material, to

        reconsider the designation, and, if no change in designation is offered, to

        explain the basis for the designation. The designating party must respond

        to the challenge within five (5) business days.

     B. Judicial Intervention. If the challenging party and the designating party

        cannot resolve the dispute without court intervention, the party that elects

        to challenge a confidentiality designation may file and serve a motion

        that identifies the challenged material and sets forth in detail the basis for

        the challenge. Each such motion must be accompanied by a competent

        declaration that affirms that the movant has complied with the meet and

        confer requirements of this procedure. The burden of persuasion in any

        such challenge proceeding shall be on the designating party. Until the

        Court rules on the challenge, all parties shall continue to treat the

        materials as Confidential Information under the terms of this Order.

8. Action by the Court. Applications to the Court for an order relating to


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   Documents or information designated Confidential Information shall be by

   motion. Nothing in this Order or any action or agreement of a party or third

   party under this Order limits the Court’s power to make orders concerning the

   disclosure of Documents produced in discovery or at trial.

9. Use of Confidential Documents or Information at Trial. Nothing in this

   Order shall be construed to affect the use of any Document, material, or

   information at any trial or hearing. A party that intends to present or that

   anticipates that another party may present at a hearing or trial Confidential

   Information produced by third party GBI or third party DJJ shall bring that

   issue to the Court’s, the parties’, and the applicable third-party’s attention by

   motion or in a pretrial memorandum without disclosing the Confidential

   Information. The Court may thereafter make such orders as are necessary to

   govern the use of such Documents or information at trial.

10.Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

      A. If a receiving party is served with a subpoena or an order issued in other

         litigation that would compel disclosure of any Document designated in

         this action as Confidential Information, the receiving party must so notify

         the designating party, in writing, immediately and in no event more than

         three court days after receiving the subpoena or order. Such notification

         must include a copy of the subpoena or court order.

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      B. The receiving party also must immediately inform in writing the party

         who caused the subpoena or order to issue in the other litigation that some

         or all of the material covered by the subpoena or order is the subject of

         this Order. In addition, the receiving party must deliver a copy of this

         Order promptly to the party in the other action that caused the subpoena

         to issue.

      C. The purpose of imposing these duties is to alert the interested persons to

         the existence of this Order and to afford the designating party in this case

         an opportunity to try to protect its Confidential Information in the court

         from which the subpoena or order issued. The designating party shall bear

         the burden and the expense of seeking protection in that court of its

         Confidential Information, and nothing in these provisions should be

         construed as authorizing or encouraging a receiving party in this action to

         disobey a lawful directive from another court. The obligations set forth in

         this paragraph remain in effect while the party has in its possession,

         custody or control Confidential Information by the other party to this case.

11. Nothing in this Protective Order is intended to limit any rights of members of

   the public to access documents, including but not limited to rights under the

   Georgia Open Records Act.

12.Obligations on Conclusion of Litigation.


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 A. Order Continues in Force. Unless otherwise agreed or ordered, this

    Order shall remain in force after dismissal or entry of final judgment

    not subject to further appeal.

  B. Obligations at Conclusion of Litigation. Within sixty-three days after

    dismissal or entry of final judgment not subject to further appeal, all

    Confidential Information and Documents marked “CONFIDENTIAL -

    SUBJECT TO PROTECTIVE ORDER” under this Order, including

    copies as defined in ¶ 3(a), shall be returned to the producing party unless:

    (1) the Document has been offered into evidence or filed without

    restriction as to disclosure; (2) the parties and producing third party agree

    to destruction to the extent practicable in lieu of return; or (3) as to

    Documents bearing the notations, summations, or other mental

    impressions of the receiving party, that party elects to destroy the

    Documents and certifies to the producing third party that it has done so.

 C. Retention of Work Product and one set of Filed Documents.

     Notwithstanding the above requirements to return or destroy Documents,

     counsel may retain (1) attorney work product, including an index that

     refers or relates to designated Confidential Information so long as that

     work product does not duplicate verbatim substantial portions of

     Confidential Information, and (2) one complete set of all Documents

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          filed with the Court including those filed under seal. Any retained

          Confidential Information shall continue to be protected under this Order.

          An attorney may use his or her work product in subsequent litigation,

          provided that its use does not disclose or use Confidential Information.

      D. Deletion of Documents filed under Seal from Electronic Case Filing

         (ECF) System. Filings under seal shall be deleted from the ECF

         system only upon order of the Court.

13.Order Subject to Modification. This Order shall be subject to modification by

   the Court on its own initiative or on motion of a party, producing third party,

   or any other person with standing concerning the subject matter.

14.No Prior Judicial Determination. This Order is entered based on the

   representations and agreements of the parties and third parties DJJ and GBI and

   for the purpose of facilitating discovery. Nothing herein shall be construed or

   presented as a judicial determination that any Document, information or material

   designated Confidential Information by counsel, the parties, or third parties is

   entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure or

   otherwise until such time as the Court may rule on a specific document or issue.

15.Persons Bound. This Order shall take effect when entered and shall be binding

   upon all counsel of record and their law firms, the parties, third parties GBI and

   DJJ, and persons made subject to this Order by its terms.

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SO ORDERED, this 1st day of April, 2025.




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              ATTACHMENT A
                     To Protective Order




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             Plaintiffs,               *
                                       *
v.                                     *
                                       *
REBECKA PHILLIPS, et al.,              *
                                       *
             Defendants.               *

     ACKNOWLEDGMENT OF RECEIPT OF PROTECTIVE ORDER
              AND AGREEMENT TO BE BOUND

      The undersigned acknowledges by his/her signature below that s/he has

received a copy of the signed Protective Order, dated ___________ and filed in the

above-captioned civil action, and consents and agrees to be bound by the terms and

conditions of the Order.

                                _________________________________
                                Printed name of signor

                                _________________________________
                                Signature of signor

                                ________________
                                Date

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